               Case 2:09-cr-00449-JAM Document 25 Filed 02/18/10 Page 1 of 3


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    LEXI NEGIN, Bar #250376
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    JOSEPH HATFIELD
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             No. CR-S-09-449 JAM
                                           )
12                     Plaintiff,          )
                                           )             STIPULATION AND ORDER TO CONTINUE
13         v.                              )             STATUS HEARING
                                           )
14   JOSEPH HATFIELD,                      )
                                           )             Date: March 23, 2010
15                     Defendant.          )             Time: 9:30 a.m.
                                           )             Judge: John A. Mendez
16                                         )
     _____________________________________ )
17
18          IT IS HEREBY STIPULATED between the parties, Robin Taylor, Assistant United States
19   Attorney, attorney for plaintiff, and Lexi Negin, Assistant Federal Defender, attorney for defendant
20   JOSEPH HATFIELD that the Status Conference hearing date of February 23, 2010, be vacated and a new
21   Status Conference hearing date of March 23, 2010, be set.
22          This continuance is requested because the parties are in ongoing discussions towards resolving the
23   case and the defense needs time to review voluminous discovery. In addition, the parties stipulate that the
24   time period from February 23, 2010, to March 23, 2010, be excluded under the Speedy Trial Act (18
25   U.S.C. §3161(h)(7)(B)(iv) and Local Code T4), due to the need to provide defense counsel with the
26   reasonable time to prepare.
27   ///
28   ///
                Case 2:09-cr-00449-JAM Document 25 Filed 02/18/10 Page 2 of 3


1            A proposed order is attached and lodged separately for the court’s convenience.
2    DATED: February 17, 2010
3
4                          Respectfully submitted,
5    BENJAMIN B. WAGNER                                  DANIEL J. BRODERICK
     United States Attorney                              Federal Defender
6
     /s/ Lexi Negin for                                  /s/ Lexi Negin
7
     ROBIN TAYLOR                                        LEXI NEGIN
8    Assistant U.S. Attorney                             Assistant Federal Defender
     Attorney for the United States                      Attorney for Joseph Hatfield
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     Stip & Order                                         1
                Case 2:09-cr-00449-JAM Document 25 Filed 02/18/10 Page 3 of 3


1
                                   IN THE UNITED STATES DISTRICT COURT
2
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
3
4    UNITED STATES OF AMERICA,             )               No. CR-S-09-449 JAM
                                           )
5                      Plaintiff,          )
                                           )
6          v.                              )              ORDER CONTINUING STATUS HEARING
                                           )              AND EXCLUDING TIME
7    JOSEPH HATFIELD,                      )
                                           )
8                      Defendant.          )
                                           )
9                                          )
     _____________________________________ )
10
11           For the reasons set forth in the stipulation of the parties, filed on February 17, 2010, IT IS
12   HEREBY ORDERED that the status conference currently scheduled for February 23, 2010, be vacated
13   and that the case be set for Tuesday, March 23, 2010, at 9:30 a.m. The Court finds that the ends of
14   justice to be served by granting a continuance outweigh the best interests of the public and the defendant
15   in a speedy trial. Accordingly, IT IS HEREBY ORDERED that, for the reasons stated in the parties’
16   February 17, 2010 stipulation, the time under the Speedy Trial Act is excluded from February 23, 2010,
17   through March 23, 2010, pursuant to 18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T4, due to the need to
18   provide defense counsel with the reasonable time to prepare.
19   Dated: February 17, 2010
20
21                                                         /s/ John A. Mendez
                                                           JOHN A. MENDEZ
22                                                         UNITED STATES DISTRICT JUDGE
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     Stip & Order                                           2
